      Case 4:20-cv-03033-JST Document 118 Filed 10/06/23 Page 1 of 11




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        PLAINTIFFS’ RESPONSE TO ADMINISTRATIVE MOTION - CASE NO. 4:20-cv-03033-JST
                                    Case 4:20-cv-03033-JST Document 118 Filed 10/06/23 Page 2 of 11




                               1
                                                        UNITED STATES DISTRICT COURT
                               2
                                                      NORTHERN DISTRICT OF CALIFORNIA
                               3

                               4
                                   COLLEGE OF THE LAW, SAN                    Case No. 4:20-cv-03033-JST
                               5     FRANCISCO a public trust and
                                     institution of higher education          PLAINTIFFS’ RESPONSE TO
                               6     duly organized under the laws            ADMINISTRATIVE MOTION
                                     and the Constitution of the
                               7     State of California;                     Filed concurrently with
                                   FALLON VICTORIA, an                        DECLARATIONS
                               8     individual;
                                   RENE DENIS, an individual;                 ASSIGNED FOR ALL PURPOSES
                               9   TENDERLOIN MERCHANTS                       TO THE HONORABLE JON S.
                                     AND PROPERTY                             TIGAR
                          10         ASSOCIATION, a business
                                     association;                             Trial Date:        (None set yet)
                          11       RANDY HUGHES, an individual;
                                     and
                          12       KRISTEN VILLALOBOS, an
                                     individual,
                          13
                                                        Plaintiffs,
                          14
                                        v.
                          15
                                   CITY AND COUNTY OF SAN
                          16         FRANCISCO, a municipal
                                     entity,
                          17
                                                        Defendant.
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         26TH FLOOR
  SAN FRANCISCO, CA 94108
       (415) 981-7210
                                      Case 4:20-cv-03033-JST Document 118 Filed 10/06/23 Page 3 of 11




                               1 I.      OVERVIEW

                               2         Plaintiffs join defendant City and County of San Francisco’s motion to relate

                               3 this case, College of the Law, San Francisco (f/k/a/ Hastings College of the Law) et al.

                               4 v. County of San Francisco, Case No. 4:20-cv-03033-JST (the “Tenderloin Case”) and

                               5 Coalition on Homelessness et al. v. City and County of San Francisco et al., Case No.

                               6 4:22-cv-05502-DMR (the “COH Case”).

                               7         Relating the two cases in this Court, where the first case was filed, would

                               8 promote judicial efficiency and harmony and prevent forum shopping. It would also

                               9 be fair.

                          10             Both cases involve San Francisco’s unhoused population, the epicenter of

                          11 which is in the Tenderloin.

                          12             Plaintiffs filed the Tenderloin Case first. (ECF no. 1.) Plaintiffs and City and
                          13 County of San Francisco (“City”) reached a prompt settlement, embodied in the

                          14 Stipulated Injunction. (ECF no. 71.)

                          15             The COH and two other nonprofits (the “COH Intervenors”) successfully
                          16 intervened in the Tenderloin Case, arguing they needed to protect the rights of the

                          17 unhoused population in the Tenderloin. (ECF no. 43.) This Court granted the COH

                          18 Intervenors’ motion to intervene and explicitly gave them the right to seek to “modify
                          19 or improve upon” the Stipulated Injunction and to file a complaint in intervention.

                          20 (ECF. No. 69.)

                          21             Indeed, in July of 2020, the COH Intervenors filed a complaint and then an

                          22 amended complaint in this litigation. (ECF nos. 74, 80) They sought to ensure that

                          23 any remedy obtained in the Tenderloin Case “honors and safeguards the

                          24 constitutional and statutory rights of unhoused individuals living in the Tenderloin.”

                          25 (ECF no. 80 at ¶ 12.) The relief sought by the COH Intervenors in this case included

                          26 a “declaratory judgment that the City must not violate unhoused persons’ Eighth

                          27 Amendment rights by taking action that criminalizes their homeless status.” (ECF

                          28 no. 80 at 40:1-2.)
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                               1         Over the past three years, plaintiffs in the Tenderloin Case have regularly

                               2 met-and-conferred with CCSF about the City’s compliance with the Stipulated

                               3 Injunction, especially the City’s obligation to “make all reasonable efforts” to

                               4 permanently reduce the number of tents and encampments to “zero.” (Davis

                               5 Declaration at ¶¶ 3-4.)

                               6         However, the COH has behaved differently. Rather than litigating the claims

                               7 made in their complaint in intervention in this the Tenderloin Case, the COH filed a

                               8 separate lawsuit against CCSF, the COH Case. The COH asked for the same relief in

                               9 that case as it seeks in the complaint in intervention it filed this case.

                          10             Worse, plaintiffs in the Tenderloin Case have recently learned that the COH

                          11 has been actively undermining compliance with the Stipulated Injunction, instead of

                          12 exercising their right to seek to modify the Stipulated Injunction through proper
                          13 judicial means.

                          14 II.         PROCEDURAL HISTORY

                          15             “The Tenderloin’s residents consist primarily of low-income and working class
                          16 individuals, senior citizens, disabled people, and families with children.” (ECF no. 01

                          17 at ¶ 26.) Nevertheless, for decades, policymakers, organizations and those with power

                          18 have treated the Tenderloin as the City’s “containment zone,” where open-air-drug
                          19 dealing and use was tolerated, and where unhoused people would be allowed to camp

                          20 on the sidewalks. See Randy Shaw, “SF’s Drug Containment Zone,” BeyondChron,

                          21 October 10, 2017 https://beyondchron.org/sfs-drug-containment-zone/ (“A

                          22 containment zone is a place where the city allows activities they want to keep out of

                          23 other neighborhoods”).

                          24             No other part of the City has been mistreated in a similar fashion for so many

                          25 years. (Id.) Conditions in the Tenderloin became unbearable at the start of the

                          26 COVID pandemic–many sidewalks literally became impassable–prompting plaintiffs

                          27 to file the Tenderloin Case on May 4, 2020. (ECF no. 1.)

                          28             Plaintiffs and the City engaged in prompt settlement discussions. (ECF nos.
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                               1 35-36, 41.) On June 5, this Court held a CMC and noted that settlement discussions

                               2 in the Tenderloin Case were ongoing. (ECF no. 40.)

                               3        On June 9, 2020, the COH and two other nonprofit organizations (the “COH

                               4 Intervenors”) moved to intervene in the Tenderloin Case, arguing that the “relief

                               5 sought would directly affect unsheltered Tenderloin residents…. [T]hese residents

                               6 have a constitutional right to be free from criminalization if they are residing outside

                               7 with no available shelter options.” (ECF no. 43 at p. 2 [citing Martin v. City of Boise,

                               8 920 F.3d 584, 616-17 (9th Cir. 2019)].)

                               9        Plaintiffs and the City reached a tentative settlement and on June 11, 2020,

                          10 and jointly asked this Court to enter a Stipulated Injunction that reflected the terms

                          11 of their agreement. (ECF 51.)

                          12            On June 16, 2020, this Court asked the COH Intervenors to file a
                          13 supplemental brief, “stating what effect, if any, the parties’ settlement has on their

                          14 motion to intervene.” (ECF no. 55.) Both plaintiffs and the City took no position on the

                          15 COH’s request to intervene in this case. (ECF Nos. 63, 64.) While the motion to

                          16 intervene was pending, CCSF and the COH Intervenors engaged in settlement

                          17 discussions. (ECF Nos. 61, 62.)

                          18            On June 24, the COH Intervenors filed a brief that asked that the “Court
                          19 require all parties to return to negotiation” so that the COH Intervenors may “modify

                          20 the agreement” and “ensure that a settlement of this litigation is drafted and

                          21 implemented in a way that better protects unhoused people’s rights.” (ECF No. 66 at

                          22 2, 8).

                          23            On June 30, 2020, this Court granted the motion to intervene, but denied the

                          24 COH Intervenors’ request to require order the parties to return to negotiations and

                          25 modify the proposed Stipulated Injunction. This Court explained:

                          26                   [The COH Intervenors] will be free to attempt to modify or
                                               improve upon the original parties’ settlement by
                          27                   negotiation or motion. And, as recent events make clear,
                                               there are yet additional parties whose interests are at
                          28                   stake in the Tenderloin and who are affected by “the
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                               1                 confluence of the COVD-19 emergency and the City’s
                                                 longstanding homelessness crisis.” They too will wish to be
                               2                 heard. And with each proposed alteration to the original
                                                 parties’ agreement comes “the possibility that modification
                               3                 [will] ‘unravel’ the original settlement.” (ECF no. 69 at 7
                                                 [citations omitted].)
                               4
                                          Also on June 30, this Court entered the Stipulated Injunction. (ECF no. 71).
                               5
                                          The Stipulated Injunction mandates that the parties meet-and-confer if either
                               6
                                   side believes the other to be in breach. If the parties are unable to reach a resolution,
                               7
                                   then they must participate in a settlement conference before submitting the dispute
                               8
                                   to this Court. (Id. at Section VI.)
                               9
                                          The COH Intervenors have never made an “attempt to modify or improve” the
                          10
                                   Stipulated Injunction. Instead, bypassing this Court, on September 27, 2022, the
                          11
                                   COH and others filed a separate action, the COH Case, and moved for a preliminary
                          12
                                   injunction.
                          13
                                          In the meantime, in the three years since this Court entered the Stipulated
                          14
                                   Injunction, the Tenderloin Case plaintiffs initiated numerous efforts to meet-and-
                          15
                                   confer with the City about its compliance with the injunction. Most of those
                          16
                                   discussions have centered on plaintiffs’ belief that City had breached its obligation
                          17
                                   under the Stipulated Injunction to “make all reasonable efforts” to permanently
                          18
                                   reduce the number of tents and encampments to “zero.” Until recently, the parties
                          19
                                   were able to resolve the dispute without a settlement conference, let alone bringing
                          20
                                   the dispute to attention of this Court. (Davis decl. at ¶¶ 3-4.)
                          21
                                          In the immediate months following the entry of the Stipulated Injunction,
                          22
                                   tremendous progress was made with respect to the sidewalk camps in the
                          23
                                   Tenderloin; on some days the number of tents and encampments dropped to the
                          24
                                   single digits. (Davis decl. at ¶ 5.)
                          25
                                          However, in 2021, a backslide began; the number of tents and encampments
                          26
                                   slowly increased. Beginning late last year, the problem rapidly become much worse.
                          27
                                   Once again, some sidewalks became completely impassable. The plaintiffs in the
                          28
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                               1 Tenderloin Case ramped up their meet-and-confer discussions with the City. By June

                               2 2023, conditions on the sidewalks of the Tenderloin again became so bad that the

                               3 plaintiffs carefully documented them in anticipation of having to present the dispute

                               4 to this Court. (Davis decl. at ¶¶ 6, 7 and Declaration of Lidon Lilly.)

                               5        At about the same time, plaintiffs in the Tenderloin Case learned for the first

                               6 time (during meet and confer discussions with the City) that the COH was allegedly

                               7 instructing people camping on the Tenderloin’s sidewalks to refuse the City’s offers of

                               8 shelter by citing to a preliminary injunction issued in the COH Case. The City

                               9 reported that it felt that it could not comply with the Stipulated Injunction and was

                          10 stuck between a rock and hard place. That is what prompted plaintiffs to request a

                          11 formal settlement conference in this case. (Davis decl. at ¶9.)

                          12            Plaintiffs in the Tenderloin Case also recently learned that the COH, rather
                          13 than seeking to modify the Stipulated Injunction through judicial means, has been

                          14 engaged in other efforts to undermine compliance with the injunction. For example, a

                          15 year after the Stipulated Injunction was entered the COH blatantly encouraged

                          16 people to camp out on the neighborhood’s sidewalks through its tent giveaway

                          17 program. For example, the following post appeared on the COH’s Twitter feed in

                          18 December 2021:
                          19            ///

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                          22       Source: https://twitter.com/kattenburger/status/1707085556834869587/photo/1 (accessed on 10/7/2023 at 2:09 p.m.) (Davis decl. at ¶10-11.)


                          23 III.           CONCLUSION

                          24                For the foregoing reasons, plaintiffs respectfully join the City’s Administrative

                          25 motion to relate the cases in this Court.

                          26                ///

                          27                ///

                          28                ///
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                               1 Dated: October 6, 2023           W ALKUP , M ELODIA , K ELLY & S CHOENBERGER

                               2

                               3                                  By:         /S/ Matthew D. Davis
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                               1                                 PROOF OF SERVICE

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                                       At the time of service, I was over 18 years of age and not a party to this action.
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                               7 •       PLAINTIFFS’ RESPONSE TO ADMINISTRATIVE MOTION
                               8 •       DECLARATION OF LINDON LILLY IN SUPPORT OF PLAINTIFFS’
                                         MOTION TO ENFORCE STIPULATED INJUNCTION
                               9

                          10 •           DECLARATION OF MATTHEW D. DAVIS IN SUPPORT OF
                                         PLAINTIFFS’ RESPONSE TO ADMINIDTRATIVE MOTION OF
                          11             DEFENDANT CCSF TO RELATE CASES
                          12             to:
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                          20        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
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                          22 or by other means permitted by the court rules.

                          23      I declare under penalty of perjury under the laws of the United States of
                             America that the foregoing is true and correct and that I am employed in the office of
                          24 a member of the bar of this Court at whose direction the service was made.

                          25            Executed on October 6, 2023, at San Francisco, California.
                          26

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                          28                                                Kirsten Benzien
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